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                             EXHIBIT 6
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                                  In the Matter Of:
                                      K.C., ET AL

                                             -v-

  INDIVIDUAL MEMBERS OF MEDICAL LICENSING BOARD OF INDIANA, ET AL


                 ____________________________________________________

                                   Elaine Cox, M.D.

                                     May 31, 2023
                 _____________________________________________________
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                                                                                                                              Page 3
  1           UNITED STATES DISTRICT COURT                          1             APPEARANCES (CONT'D.)
              SOUTHERN DISTRICT OF INDIANA                          2 ALSO PRESENT: Alli Emhardt, Assistant General Counsel
  2             INDIANAPOLIS DIVISION                                            Indiana University Health
  3                                                                 3
  4
                                                                                 Joannie Geuder
  5 K.C., et al.,               )
                                                                    4            Mylene Laughlin
                            )
                                                                                 Andrew Shaw
  6           Plaintiffs,       )
                            )                                       5            Brandon Splitter
  7        -v-              ) CASE NO.                                           Bailey Steinhauer
                          ) 1:23-cv-00595-JPH-KMB                   6            Shay Storz
  8 THE INDIVIDUAL MEMBERS OF )                                                  John Vastag
    THE MEDICAL LICENSING BOARD )                                   7            Roarke Matchett
  9 OF INDIANA, in their official)                                  8
    capacities, et al.,       )                                     9
 10                         )
                                                                    10
             Defendants.        )
                                                                    11
 11
                                                                    12
 12
 13       The 30(b)(6) deposition upon oral examination             13
 14 of RILEY CHILDREN'S HEALTH by ELAINE COX, M.D., a               14
 15 witness produced and remotely sworn before me,                  15
 16 Debbi S. Austin, RMR, CRR, Notary Public in and for             16
 17 the County of Hendricks, State of Indiana, taken on             17
 18 behalf of the Defendants via Zoom videoconference on            18
 19 May 31, 2023, at 9:01 a.m., pursuant to the Federal             19
 20 Rules of Civil Procedure.
                                                                    20
 21
                                                                    21
 22
                                                                    22
 23
 24           STEWART RICHARDSON & ASSOCIATES                       23
            Registered Professional Reporters                       24
 25                   (800)869-0873                                 25

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  1                  APPEARANCES                                     1              INDEX OF EXAMINATION
  2     (All participants via Zoom videoconference)                  2 EXAMINATION                                PAGE
  3 FOR THE PLAINTIFFS:                                              3 By Mr. Fisher:                           6
  4    Kenneth J. Falk, Esq.                                         4 By Mr. Falk:                            54
      Gavin M. Rose, Esq.                                            5
  5    Stevie Pactor, Esq.
                                                                     6
      ACLU OF INDIANA
                                                                     7
  6    1031 East Washington Street
      Indianapolis, IN 46202                                         8
  7    kfalk@aclu-in.org                                             9
      grose@aclu-in.org                                                              INDEX OF EXHIBITS
  8    spactor@aclu-in.org                                          10
  9    Chase Strangio, Esq.                                            NUMBER               DESCRIPTION               PAGE
      AMERICAN CIVIL LIBERTIES                                      11
 10    UNION FOUNDATION                                                Exhibit 1 Subpoena to Testify at a            6
      125 Broad Street                                              12           Deposition in a Civil Action
 11    New York, NY 10041                                           13 Exhibit 2 Attachment to Subpoena                  7
      cstrangio@aclu.org                                            14 Exhibit 3 Class Action Complaint                8
 12
                                                                                for Declaratory and Injunctive
 13 FOR THE DEFENDANTS:
                                                                    15           Relief/Notice of Challenge to
 14    Thomas M. Fisher, Esq.
      OFFICE OF THE ATTORNEY GENERAL                                            Cons itutionality of Indiana
 15    302 West Washington Street                                   16           Statute
      IGCS Fifth Floor                                              17 Exhibit 4 Curriculum Vitae                   9
 16    Indianapolis, IN 46204                                       18 Exhibit 5 Fertility Preservation            10
      tom.fisher@atg.in.gov                                                     for Transgender and
 17                                                                 19           Gender-Nonbinary People
 18 FOR THE DEPONENT AND INDIANA UNIVERSITY HEALTH:                 20 Exhibit 6 Hormone therapy:                   14
 19    Joshua J. Minkler, Esq.                                                  Testosterone
      BARNES & THORNBURG LLP                                        21
 20    11 South Meridian Street
                                                                       Exhibit 7 Is Gender Affirming Care            21
      Indianapolis, IN 46204
                                                                    22           Safe & Effec ive
 21    josh.minkler@btlaw.com
 22                                                                 23 Exhibit 8 Riley Children's Health            24
 23                                                                             Gender Care Services
 24                                                                 24
 25                                                                 25
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                                                               Page 5                                                                  Page 7
  1            INDEX OF EXHIBITS (CONT'D.)                               1 you have seen it.
  2 NUMBER                 DESCRIPTION               PAGE
  3 Exhibit 9 Gender Affirming Support             32                    2 A Yes. Mr. Minkler shared it with me.
              and Education                                              3 Q Okay. And do you understand this to be the
  4
    Exhibit 10 A Guide to Feminizing              32
                                                                         4 subpoena to IU Health to give a deposition in this
  5            Hormones                                                  5 case?
  6 Exhibit 11 A Guide to                      33
                                                                         6 A Yes.
              Masculinizing Hormones
  7                                                                      7 Q And I'm going to ask you, just for the sake of the
    Exhibit 12 Menstrual Suppression               34                    8 court reporter, to make sure you give all your
  8           and Breakthrough Bleeding for
              Gender Diverse Youth                                       9 answers verbally, and head nods and shakes won't
  9                                                                     10 get recorded well. So let's -- it's something we
    Exhibit 13 Puberty Blockers                 34
 10                                                                     11 all have to be mindful of.
    Exhibit 14 1-24-23 E-mail from Tory            35                   12 A Okay.
 11             Castor to Senator Bray, et al.
 12 Exhibit 15 Gender-Affirming                   36
                                                                        13 Q By this case, of course, I mean from the caption,
              Hormone Therapy: A Timeline                               14 K.C., et al., versus Individual Members of the
 13                                                                     15 Medical Licensing Board of Indiana.
    Exhibit 16 Indiana University               38
 14             Health Prohibi ion of Gender                            16      Do you see that?
              Affirming Surgery on Minors                               17 A I do.
 15
    Exhibit 17 GAC Fact Sheet                    57                     18      MR. FISHER: All right. Let's mark Exhbit 2,
 16                                                                     19 which is the attachment to the subpoena. It should
 17
 18
                                                                        20 be probably a separate document.
 19                                                                     21      (Deposition Exhbit 2 marked.)
 20                                                                     22 Q All right. Again, I'm not going to ask a whole lot
 21
 22                                                                     23 of questions about this, but I wonder if you've
 23                                                                     24 seen this document before.
 24
 25                                                                     25 A It was shared.
                                                               Page 6                                                                  Page 8
  1               ELAINE COX, M.D.,                                      1 Q Have you -- well, I'll just descrbe what it is,
  2 having been first duly sworn to tell the truth, the                  2 and you can kind of hopefully confirm that you have
  3 whole truth, and nothing but the truth, was examined                 3 the same understanding. So this is a document that
  4 and testified as follows:                                            4 descrbes the categories of testimony that we have
  5 EXAMINATION                                                          5 asked IU Health to provide.
  6 BY MR. FISHER:                                                       6      Does that comport with your understanding of
  7 Q Good morning, Dr. Cox. My name is Tom Fisher. I'm                  7 the document?
  8 with the Attorney General's Office, and I'll be                      8 A Yes.
  9 taking your deposition today.                                        9 Q And have you read this document?
 10       So we only have a short amount of time. I                     10 A Not in detail, just skimmed it.
 11 promised your lawyer I would get through this as                    11 Q Well, I guess my main question is, are you prepared
 12 quickly as I can. And I know that, you know, no                     12 to give testimony on each of these subjects today?
 13 one's really eager to be doing this at 9:00 in the                  13 A Yes.
 14 morning, but I really appreciate your help and your                 14      MR. FISHER: All right. Let's mark Exhbit 3,
 15 cooperation. So I think we're going to start off                    15 which is the complaint in this case.
 16 by identifying a few documents, just because there                  16      (Deposition Exhbit 3 marked.)
 17 was a production of documents and I want to make                    17 Q Doctor, this is the complaint filed to initiate
 18 sure I know what it is that's been produced.                        18 this case, and I'm wondering if you have seen this
 19       But first, let's start with Exhibit 1, which                  19 document before.
 20 is going to be -- it's a document titled "Subpoena                  20 A I have.
 21 to Testify at a Deposition in a Civil Action."                      21 Q Have you read the entire document?
 22       MR. FISHER: Joannie, do you have that one?                    22 A Yes.
 23       (Deposition Exhbit 1 marked.)                                 23 Q Wow, that's heroic.
 24 Q Doctor, I'm not going to ask detailed questions                   24 A It was a long weekend.
 25 about this document. I just want to know whether                    25 Q So you understand, I guess, that this lawsuit is
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  1 about a challenge to the new Indiana law, Senate                        1 our patients who have gender dysphoria are curious
  2 Enrolled Act 480 that bans gender transition                            2 about future fertility and have a lot of questions.
  3 procedures for minors?                                                  3 And so over time, and knowing the questions,
  4 A Yes, I am aware.                                                      4 knowing the things that have come up with others,
  5      MR. FISHER: Okay. Let's go ahead and mark                          5 this document is used to guide, to help the
  6 Exhibit 4, which is the curriculum vitae for                            6 patients with their discussion about this
  7 Dr. Cox.                                                                7 particular item with fertility in the future.
  8      (Deposition Exhbit 4 marked.)                                      8 Q So this is a document designed for patients?
  9 Q Dr. Cox, do you recognize this document?                              9 A For patients, and in the case of minor children,
 10 A I do.                                                                10 their parents who are their proxy decision-makers.
 11 Q And what is it?                                                      11 Q Is this document given to every patient or parent
 12 A It is my curriculum vitae.                                           12 of a patient who is seeking some sort of medical
 13 Q Is it current as of today?                                           13 intervention for gender dysphoria?
 14 A It is current as of when I submitted it, and I                       14 A That is my understanding.
 15 don't think anything has changed in this week, so I                    15 Q So you don't wait for a request for information,
 16 would say yes.                                                         16 you just provide it as part of the process?
 17 Q Okay, great. So I understand that you are the                        17 A That is my understanding, but I have not witnessed
 18 designee of IU Health to testify for its -- as an                      18 that directly in the clinic.
 19 institution today.                                                     19 Q So yeah, and I guess that raises the question, do
 20       Is that your understanding?                                      20 you yourself ever treat patients with gender
 21 A It is.                                                               21 dysphoria?
 22 Q Okay. And I'm wondering, just -- not to suggest                      22 A I do not.
 23 anything otherwise, but I'm wondering what on this                     23 Q And what is your area of medical expertise?
 24 CV tells us that you are an appropriate person to                      24 A So when I was practicing all the time, it's
 25 testify for IU Health today.                                           25 pediatric infectious disease and public health.
                                                                 Page 10                                                                 Page 12
  1 A So I am the chief physician executive for Riley                       1 But then I spent five years as the chief medical
  2 Children's Health, which means all practice,                            2 officer. I've been the patient safety officer.
  3 quality measures, protocols, et cetera, are                             3 And lke I said, I'm the chief physician executive
  4 overseen because the work of the physicians and the                     4 that oversees practice in our hospital. And so my
  5 advanced practice providers is overseen by my                           5 understanding of this document is that it is
  6 office.                                                                 6 provided to each family that comes through the
  7 Q I'm sorry, the last word, overseen by what?                           7 clinic, but I personally don't hand out the
  8 A My office.                                                            8 document.
  9 Q Your office, okay.                                                    9 Q Understood. Do you maintain a clinical practice?
 10       Is there another administrative official that                    10 A I do not currently.
 11 you report to or are you the chief administrative                      11 Q Do you have an area of academic research that you
 12 officer as well?                                                       12 specialized in?
 13 A So I report to the president of Riley Children's                     13 A So most of my research has been on infections and
 14 Health.                                                                14 infection prevention, antimicrobial stewardship, in
 15 Q And is that person a physician?                                      15 the area of HIV/AIDS.
 16 A It is not. So I would be the highest ranking                         16 Q So with respect to this document that's on the
 17 physician for Riley Children's Health.                                 17 screen, I guess I'm wondering, you say you
 18       MR. FISHER: Now, let's mark Exhbit 5. And                        18 understand that it's given to every patient, but is
 19 this is going to have a Bates number ending in                         19 there a policy about that, about giving it to every
 20 3890.                                                                  20 gender dysphoria patient?
 21       (Deposition Exhbit 5 marked.)                                    21 A It's not policy, but there is a difference between
 22 Q Dr. Cox, do you recognize this document?                             22 policy and standard of practice. So standards of
 23 A I have seen it before, yes.                                          23 practice are widely accepted across the entire
 24 Q Can you descrbe what it is, please.                                  24 nation about the care that you give under any
 25 A So this is a document that we use because a lot of                   25 auspices.
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  1     So there are guidelines from the Endocrine                      1 take them one at a time here. So it looks lke
  2 Society. There are guidelines from the Society of                   2 we've got some rotating to do as we go.
  3 Adolescent Medicine. There are the WPATH                            3      Doctor, do you recognize this document?
  4 guidelines, of what the best care, the best                         4 A I don't think that I have seen this document.
  5 practice, if you will, should be. Everything's not                  5 Q Do you have any understanding of what it is or how
  6 written into policy, but it is accepted standard of                 6 Riley uses it?
  7 practice.                                                           7 A I do.
  8 Q Why is it accepted standard of practice to provide                8 Q Okay. What can you tell us about that?
  9 this document to all patients seeking treatment for                 9 A So with anything, we make sure that we communicate
 10 gender dysphoria?                                                  10 all information orally and in written format,
 11 A Well, I think, you know, with any sort of document               11 right, in any diagnosis that we have, because
 12 such as this, knowing that these are questions that                12 people -- you know, they need to hear it so that
 13 some people have considered or have come up, you                   13 they can ask questions and we can explain, but then
 14 want to make sure that everyone is fully informed                  14 they need something that they can refer back to
 15 and has all the -- the knowledge that you can share                15 because medicine is complicated. And as they think
 16 with them about things that they should be                         16 through things, they may need to go back and
 17 considering in any diagnosis and any kind of                       17 reiterate something.
 18 treatment.                                                         18      And so it's very common for all of our
 19      So an example is that we also tak about                       19 educational materials to have what we would call,
 20 fertility preservation when we're getting ready to                 20 you know, FAQs or commonly asked questions, the
 21 give chemotherapy, certain types of chemotherapy.                  21 major ones that we get, with answers that we give
 22 So these are things that we as physicians know that                22 them so that, A, they can understand. And we do
 23 people should be informed of and aware of, and we                  23 this with our educators, so that we're not writing
 24 want to make sure that they have information at                    24 in medical terms only so that our families and our
 25 their fingertips.                                                  25 patients have that opportunity.
                                                             Page 14                                                                  Page 16
  1 Q Do you yourself have any knowledge of the science                 1      And there are very frequently illustrations
  2 behind the need to give this as a -- this document                  2 with it because some people are more visual
  3 as a standard of practice?                                          3 learners, and other people are more word learners,
  4 A I do not. Most best practice is determined by                     4 right, so we try to combine both. And that's what
  5 people in every single specialty who, one, have a                   5 this document is for, so that people understand,
  6 great deal of experience; two, have national                        6 whenever they make a decision to pursue therapy of
  7 committees that get together that share and give                    7 any kind, what those medications are, what the
  8 information based on their experience and then come                 8 effects of that medication is going to be, both the
  9 out with recommendations of what best practice                      9 intended effects and some potential side effects,
 10 should be. That's a standard in medicine. It's                     10 and then the drawings to help them understand.
 11 all across the board.                                              11 Q So do you understand this document to be created
 12      In this particular case, I'm sure that this is                12 for patients with gender dysphoria who are being
 13 a document that our team has made for Riley that is                13 prescrbed testosterone or is it more generally
 14 based on the national recommendations for care of,                 14 useful for other -- any patient getting
 15 in this case, our transgender and gender nonbinary                 15 testosterone for any reason?
 16 people.                                                            16 A It could be used for anybody getting testosterone
 17      MR. FISHER: All right. Let's go ahead and                     17 for any reason. This is very general. You'll see
 18 mark Exhbit 6. This is going to be the document                    18 it taks about testosterone therapy. It doesn't
 19 that ends Bates No. 3893. And it goes through --                   19 tak about necessarily which thing you're giving it
 20 well, there's several pages to it. So let's mark                   20 for.
 21 3893 through 3899. I'm uncertain exactly if this                   21 Q And is this provided in a packet of information to
 22 is all one document or if it's multiple, but we'll                 22 the plaintiffs -- or not plaintiffs, I'm sorry, the
 23 go through it page by page very briefly.                           23 patients?
 24      (Deposition Exhbit 6 marked.)                                 24 A I'm sure that it is. Probably only the pages of it
 25 Q Well, let's just start with page 1, and we'll just               25 that are useful for them. So if you're getting
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                                                              Page 17                                                                  Page 19
  1 testosterone therapy, you would get this page. If                    1 A Yes.
  2 you're getting a different therapy, you might not                    2 Q Okay, thank you.
  3 get this page.                                                       3      All right, let's go ahead and go to the next
  4 Q Okay. Let's go to the next page, please. So it                     4 page. This says "Consent for Intrauterine Device
  5 looks lke we're on to a slightly different subject                   5 Placement." So I take it this is the consent form
  6 with this page. Doctor, this document reads "Oral                    6 if somebody wants an intrauterine device; correct?
  7 Contraception Consent," and I'm just curious what                    7 A Correct.
  8 this document is used for.                                           8 Q And do you have an understanding of how that's
  9 A Again, it's used for making sure that we have                      9 relevant to treatment of gender dysphoria?
 10 educated the patient that they have everything                      10 A So I think what you've seen, right, are the three
 11 orally communicated and now in writing and that                     11 options now for birth control and menses
 12 they understand everything that -- about this oral                  12 management. So it's oral contraception,
 13 contraception that they're going to take.                           13 Depo-Provera, and IUD. So they can be used in
 14       So there are multiple kinds of oral                           14 patients who are desiring of either contraception
 15 contraception. We give people options. When they                    15 or menses management, and they are the three
 16 decide and they pick one, such in this case oral                    16 options and they can choose.
 17 contraception, we want to make sure that they've                    17 Q Is the IUD useful for menses management or is it
 18 been fully informed of everything that it does and                  18 just contraception?
 19 does not do. And part of that is having the                         19 A It's mostly contraception. And if there are
 20 conversation, but then having them look at each one                 20 further uses for it, I am not the person to comment
 21 of these and attesting that they understand.                        21 on that.
 22 Q Is this document relevant, to your understanding,                 22 Q Thank you. Let's go to the next page, 3897. So
 23 in the treatment of gender dysphoria?                               23 another patient consent form. What is this one
 24 A It can be if someone is trying to manage their                    24 used for?
 25 menses. So remember, there are a lot of reasons                     25 A So Nexplanon is also a kind of birth control
                                                              Page 18                                                                  Page 20
  1 for oral contraception, and so when we have                          1 method, and it is -- it's an estrogen-based product
  2 patients who have real challenges with their                         2 and it's inserted under the skin. So you don't
  3 menses, excessive bleeding, excessive pain, in any                   3 take a pill every day. It's lke an IUD in that
  4 of those cases, oral contraception might be used to                  4 way in that you don't have to remember to do
  5 help manage that, whether or not they're                             5 something every day. It's an implantable.
  6 transgender. And so there are multiple reasons to                    6 Q Is it useful only for birth control or also menses
  7 use it, even, you know, in all patients.                             7 management?
  8 Q Okay. Let's go to the next page, 3895.                             8 A It can be used in both because you're regulating
  9     So this document says "Depo-Provera Consent."                    9 someone's cycle, so it too can have benefits in
 10 So I'm wondering what this document is.                             10 both.
 11 A So it's essentially the same thing about a                        11 Q All right. Let's go to the next page, 3898. So
 12 different type of medication. But it's pretty much                  12 this document at the top says "Consent for
 13 the same thing in theory that you have discussed                    13 Procedure." I don't know if this is related to the
 14 different things. And Depo-Provera has been an                      14 Nexplanon or if it's an independent document, but
 15 option for therapy and you've communicated it and                   15 I'm wondering if you can tell me how this document
 16 now here it is in writing. Depo-Provera will                        16 is used.
 17 inhbit menses or at least shorten it and change                     17 A So this is the general consent for a procedure. So
 18 it. So it's another option for patients who have                    18 this is not our operating room consent, but a
 19 challenges for -- with regard to managing their                     19 consent for procedure. This is most often used in
 20 menses.                                                             20 office procedures. And so you can see you fill in
 21 Q Is it also a contraceptive or is it sort of just a                21 what the procedure is listed, and then exceptions
 22 menses management drug without relevance to                         22 to consent can be listed. So this -- where it sits
 23 contraception?                                                      23 in this document, it's probably with regard to the
 24 A Both.                                                             24 insertion of a Nexplanon device. But this is a
 25 Q Both, you say?                                                    25 general consent for procedure, and you have to fill
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  1 it in.                                                              1 of this document are?
  2 Q Okay, thanks. All right, let's go to the next                     2 A I do not.
  3 page, 3899. So here we have another consent form,                   3 Q Do you have any understanding of how they decided
  4 and this one is for Ortho Evra. And I'm wondering,                  4 what studies to mention in this document?
  5 it says, "Ortho Evra contraceptive patch." So can                   5 A I do not.
  6 you -- tell me, is that meant for menses management                 6 Q Have you ever discussed with the authors of this
  7 only or also birth control or only birth control?                   7 document whether there might be additional studies
  8 How does that fit into the range of options?                        8 that could be or should be included?
  9 A It too can be both. So these patches have estrogen                9 A I have not. I have spoken with the chief of
 10 that regulates the menses cycle, as well as                        10 adolescent medicine. These are what we would
 11 provides birth control. Another version.                           11 consider to be the major studies and the most
 12        MR. FISHER: All right. Let's mark Exhbit 7.                 12 reliable bodies that we generally base our
 13 And this has Bates No. 3901.                                       13 standards of care around, and I feel comfortable
 14        (Deposition Exhbit 7 marked.)                               14 with that statement from her.
 15 Q Doctor, do you recognize this document?                          15 Q Oh, okay. Are you -- have you done any research of
 16 A I do. I have seen it.                                            16 your own to determine whether there might be
 17 Q And I think it looks to me lke it's got one, two,                17 additional studies that ought to be considered for
 18 three, four pages to it. I just want to -- if we                   18 this document?
 19 could just scroll slowly through so the doctor can                 19 A I have not looked specifically to say if there are
 20 make sure that we see the whole thing.                             20 other studies.
 21 A Yes.                                                             21      MR. FISHER: All right. Let's mark -- I guess
 22 Q Okay. Doctor, what is this document used for?                    22 we're up to -- I think we had two copies, Joannie,
 23 A So this is a piece of information that is used for               23 so I think we're going to skip over what is
 24 education, both within the gender affirmation                      24 probably next. It's the same document. We don't
 25 clinic, but it is also useful for people who have                  25 need to mark it again. I want to go to what is
                                                             Page 22                                                                  Page 24
  1 questions about gender-affirming care and                           1 3905, and so I guess this would be 8.
  2 understanding where the supports and the guidelines                 2      (Deposition Exhbit 8 marked.)
  3 come from, showing the studies and the medicine                     3 Q Doctor, do you recognize this document?
  4 behind the treatment of gender-affirming care.                      4 A I do.
  5 Q Who's the target audience principally?                            5 Q And what is this document?
  6 A Well, I think it's written to be for both our                     6 A This is the document that was prepared, the
  7 learners and as well as families who have questions                 7 information that was prepared for our website and
  8 about, how did we come to this, where are the                       8 making clear what services that we will provide.
  9 standards of practice. So it can be used in both.                   9 So this was the document put together by the team
 10 Q And you used the term "learners," and I'm wondering              10 for that purpose.
 11 what you mean by that.                                             11 Q So this is taken from the website itself?
 12 A Medical students, residents, Fellows, physician                  12 A This information is on the website. It's arranged
 13 assistant students, even social work students that                 13 differently, I think, on the website, but this is
 14 we have in our educational institution.                            14 essentially what's there.
 15 Q Were you involved in the writing or preparation of               15 Q So is this document in this form used for anything
 16 this document?                                                     16 or is it just a source of information for the
 17 A No.                                                              17 website?
 18 Q Do you know anything about the science that is                   18 A I think it's used for the -- again, for any
 19 mentioned in this document?                                        19 audience that has questions about it. So it can be
 20 A I do. I have reviewed multiple of the studies as                 20 used for our patients and families or it can be
 21 well as some of the guidelines. I also am very                     21 used for our learners. It can be used, lke I
 22 well aware of the statement of support from the                    22 said, to inform for the searches that people are
 23 American Academy of Pediatrics and the Federation                  23 doing nationally, et cetera.
 24 of Pediatric Organizations.                                        24 Q Let's scroll to the bottom of the page. There's a
 25 Q Do you know how the -- do you know who the authors               25 little -- there's a box towards the bottom. So
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  1 this says "Gender Care Interventions for Pediatric                       1 Q The ambiguous genitalia surgery, is it always done
  2 Patients (less than 18 years or old) & Riley                             2 shortly after birth or what is the time frame where
  3 Hospital for Children."                                                  3 that's usually done in the child's life, I guess is
  4      So are you with me down there at the bottom of                      4 what I'm wondering?
  5 the page?                                                                5 A Yeah, it's done in infancy.
  6 A Yes.                                                                   6 Q So over on the right side of that, we've got the
  7 Q Great. So it looks lke in one column it has                            7 services not provided at Riley. And it says top
  8 "Services Provided at Riley," and the other column                       8 surgery and bottom surgery.
  9 it says, "Services Not Provided at Riley." And so                        9      So first of all, what is top surgery?
 10 you've got under services provided, ambiguous                           10 A So top surgery includes breast surgery. So whether
 11 genitalia surgery, treatment for menstrual                              11 it's augmentation, it's, you know, debunking of the
 12 suppression, gender-affirming hormone therapy,                          12 breast, mastectomy. Those would be considered top
 13 surgery consultation and coordination. And under                        13 surgeries.
 14 not provided at Riley, top surgery and bottom                           14 Q And what is bottom surgery?
 15 surgery.                                                                15 A Bottom surgery would be surgery on the genitalia.
 16      And so let's start with ambiguous genitalia                        16 In the case of gender dysphoria, it would be, you
 17 surgery. Do you know what that refers to?                               17 know, phalloplasties and other things lke that.
 18 A I do.                                                                 18 So genital surgery.
 19 Q What is that referring to?                                            19 Q Do you have a detailed understanding of what those
 20 A So there are babies who are born with something                       20 surgeries involve?
 21 called congenital adrenal hyperplasia, where their                      21 A I do not, because we don't do them on minors here,
 22 genitalia, despite the fact that they are hormone                       22 and so we don't do them. I know what they are, and
 23 XX, their genitalia often are ambiguous, meaning                        23 I certainly know lke, you know, vaginoplasty and a
 24 they have some features of it that are vaginal and                      24 vulvoplasty and a phalloplasty, those are the --
 25 some that look penile.                                                  25 plasty always means creation, right, and so those
                                                                  Page 26                                                                  Page 28
  1      And for those families, for those little                            1 are the creations of the genital surgeries. But
  2 babies, because they have an intact uterus and                           2 what the surgical procedures and the steps in that
  3 all -- they are genetically female, if the families                      3 are, I do not know.
  4 desire that they want that genitalia in their                            4 Q So I'm wondering why Riley does not provide top
  5 infant to be restored to its genetic base and match                      5 surgery and bottom surgery for minors.
  6 its genetic base, that can be done here. There's                         6 A So I -- so to be clear, we don't do top surgery or
  7 an entire process that we go through with families                       7 bottom surgery in minors for the sole purpose of
  8 around that.                                                             8 gender dysphoria. There are times that children
  9      And then that if families want to do that,                          9 have excruciating back pain from exceedingly large
 10 then they can have that surgery done here.                              10 breasts, they could have abscesses or other things.
 11 Families have a lot of reasons for wanting to do                        11 You know, there are vulvar abscesses and vaginal
 12 that early in life from the standpoint of their                         12 abscesses and penile abscesses, we would treat
 13 child and child care and other things that are not                      13 those.
 14 relevant here, but we will do that here, only for                       14      We don't do top and bottom surgery in minors
 15 that particular case of patients.                                       15 if there is no other indication than gender
 16 Q Is it always for genetic females that this arises,                    16 dysphoria. And the reason that we have made that
 17 or is it sometimes genetic males?                                       17 our standard is that these surgeries are -- you
 18 A No, it's genetic females, where this surgery,                         18 know, they're not small surgeries, and they are not
 19 ambiguous genitalia surgery, is done here at Riley.                     19 easily reversble. And so you want people to be at
 20 There are other genital surgeries done on males,                        20 the age of consent, which in this country is 18,
 21 because they have, you know, some sort of a                             21 before they make those decisions.
 22 curvature or whatever, sometimes there are other                        22      Medicines that you give, you can stop
 23 surgeries that are done, but those are -- those are                     23 medicine, and the effects will lessen over time.
 24 corrective for a malformation as opposed to for any                     24 But with surgery, that's -- that is a commitment
 25 other reason.                                                           25 from which you don't come back. And so informed
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   1 consent and making sure that patients are of an age                 1 more permanent, and we want to make sure that our
   2 where they will be able to truly be informed is 18,                 2 patients are of the age of consent for
   3 and so that is the standard we have chosen.                         3 non-immediate necessity of surgery.
   4 Q Do you have a detailed knowledge of the risks of                  4 Q You had mentioned with respect to the hormones that
   5 hormone therapy on minors for gender dysphoria?                     5 you were committed to, I don't want to put words in
   6 A So I think if you went back to those original                     6 your mouth, I want to make sure I'm getting kind of
   7 documents, most of them are listed there. Most of                   7 what you said here, but I think you said committed
   8 the -- those effects are shorter lived and mostly                   8 to providing recommended and legal treatments. But
   9 reversble. You may put on some weight or you may                    9 I am wondering, you know, does top surgery and
  10 develop some acne. Your menses will stop. It can                   10 bottom surgery at least fit those parameters, aside
  11 be -- it will resume once you come off the                         11 from the current law that we're taking about?
  12 medicines. Those are the most common and very well                 12 A So I do think so. I think if you -- because I have
  13 known and very laid out in those documents.                        13 looked many places across the country for the
  14     To my knowledge, we don't know of any                          14 surgical, the sort of accepted standard is that
  15 long-term, can't be reversed effects of those                      15 children are of the age of consent for surgical
  16 medicines after years of study of hormone therapy,                 16 intervention. That is the common practice around
  17 not only in transgender, but in all kinds of                       17 the country.
  18 indications.                                                       18     I'm not saying that's what everybody does, but
  19 Q What about infertility?                                          19 many, many places, that is the accepted standard.
  20 A So there is some concern, obviously, I don't know                20 Some places have a little bit lower age limit for
  21 the studies so I can't give you percentages, but                   21 top surgery because the guidelines are -- they're
  22 that is why we have that first document about                      22 meant to be guidelines, so they're not a hundred
  23 fertility preservation, if there's any                             23 percent prescriptive. But we have made the
  24 consideration of that.                                             24 decision for surgical intervention that we are
  25 Q So, and I'm wondering, you know, infertility sounds              25 going to use 18.
                                                              Page 30                                                                   Page 32
   1 lke something that you don't undo; right?                           1      MR. FISHER: All right. Let's mark, I guess,
   2 A Infertility is something that is generally very --                2 Exhibit 9. So this is the one that's 3908.
   3 it depends on the reason that you have infertility                  3      (Deposition Exhbit 9 marked.)
   4 if it can be overcome or not, whether you took meds                 4 Q Do you recognize this document? And there's two
   5 or not, right. Infertility is a reality. But if                     5 pages, I think, here.
   6 there's a potential at all, we want to protect                      6 A I have seen this document through the clinic.
   7 that, and I don't think you can ever know who's                     7 Q What do you understand this document to be?
   8 going to suffer from infertility for whatever                       8 A So this document is basically looking at places
   9 reason. And so that's why we offer that. But it's                   9 where families can go and get information, support
  10 a possbility, I guess.                                             10 groups, different types of information that they
  11 Q And Riley has decided that, notwithstanding that                 11 can share with their families, their extended
  12 risk, it wants to offer hormonal treatment even                    12 families, et cetera, who are interested in
  13 though there is that potential risk in some cases?                 13 understanding their child's journey.
  14 A So what I would say to you is that if something is               14       MR. FISHER: Let's go ahead and mark
  15 available, scientifically sound and recommended,                   15 Exhbit 10. This is 3923.
  16 and legal, Riley feels an obligation to the                        16       (Deposition Exhbit 10 marked.)
  17 patients who are seeking help for any diagnosis to                 17 Q It looks lke it's several pages, through 3933.
  18 provide what is considered the standard of care.                   18       Doctor, as she's scrolling there, do you
  19 And we would commit that the standard of care in                   19 recognize this document?
  20 caring for people with gender dysphoria has been                   20 A Well, I'm aware of the document. I haven't spent a
  21 well laid out in the guidelines and that these are                 21 lot of time in this document. This is an
  22 accepted manners of care.                                          22 educational document that is put together by
  23 Q And that's not true for top surgery or bottom                    23 Seattle Children's that is, again, another
  24 surgery?                                                           24 opportunity for people to go and get more
  25 A So top surgery and bottom surgery, again, are much               25 information about the treatments.
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   1 Q Is it part of the standard of care at Riley to                       1 A Again, I think they're given the option to access
   2 provide this document to patients seeking care for                     2 it, but whether it's printed out and handed to
   3 gender dysphoria?                                                      3 them, I do not know.
   4 A We offer them a lot of opportunities to go and look                  4      MR. FISHER: All right. Let's go to 14.
   5 at different hospitals. You saw on the last                            5 3953.
   6 document, there's a link there. And if somebody's                      6      (Deposition Exhbit 14 marked.)
   7 done a really great job at putting together                            7      MR. FISHER: Can we make that a little bit
   8 information that we think will be helpful, we want                     8 bigger so the doctor can read it, please.
   9 them to have access to all information. Hospitals                      9      THE WITNESS: Thank you.
  10 and healthcare, as you know, in general lke to                        10 Q Can you read that okay?
  11 share what they know, in particular children's                        11 A I can, thank you.
  12 hospitals. And so it's not unusual for us to offer                    12 Q So this was produced to us, and I'm not sure if
  13 them different things that are already in                             13 your e-mail address shows up on here or not. I
  14 existence.                                                            14 don't see it. But I'm wondering if you have seen
  15 Q Do you know whether this is -- this document is                     15 this document before.
  16 given to every patient at Riley seeking feminizing                    16 A I have.
  17 hormones for gender dysphoria?                                        17 Q Can you tell me what it is?
  18 A I do not. I know it's given in the packet of, if                    18 A So this is a note from our senior vice president
  19 you want more information, you can seek it. But                       19 for governmental affairs, Tory Castor, to several
  20 whether it's printed out and given to the patients,                   20 of our legislators here in Indiana who had
  21 I don't know.                                                         21 questions on Riley's gender care program and had
  22       MR. FISHER: Let's mark 11. It is 3934.                          22 taked with Tory Castor as well as some of our
  23       (Deposition Exhbit 11 marked.)                                  23 physicians getting their questions answered, and
  24 Q Very similar document. This one says, "A Guide to                   24 this was a follow-up e-mail.
  25 Masculinizing Hormones," also from Seattle                            25 Q Is Tory Castor a doctor?
                                                                 Page 34                                                                   Page 36
   1 Children's.                                                            1 A She is not. She's a lawyer.
   2       Again, do you recognize this document?                           2 Q Oh, okay. So did -- do you know who wrote this?
   3 A I am aware of its existence, yes.                                    3 Do you know if Ms. Castor wrote this or if somebody
   4 Q Is it fair to say this is used in much the same way                  4 else helped her write it?
   5 as the previous document?                                              5 A I do not know that.
   6 A It is.                                                               6 Q Do you know if this document was vetted through any
   7       MR. FISHER: Let's mark 12, which is 3943.                        7 sort of senior medical staff at Riley?
   8       (Deposition Exhbit 12 marked.)                                   8 A So I know that Tory Castor reached out to the
   9 Q Doctor, do you recognize this document?                              9 physicians that provide care in the gender
  10 A Again, it's -- I am familiar with it. It is from                    10 affirmation clinic to get accurate answers about
  11 Seattle, and it is around another intervention,                       11 the questionnaires, how they're used, who gets
  12 this one for menstrual suppression.                                   12 them. So she did tak to those physicians.
  13 Q And you -- I guess just to make sure I'm following,                 13 Q Were you aware that Ms. Castor was providing this
  14 is it your understanding that this is made                            14 document before it was sent?
  15 available, but you're not sure whether it's                           15 A No.
  16 provided to every patient seeking menstrual                           16 Q And you never had a chance to review its contents?
  17 suppression?                                                          17 A No, not this document, but I sat in on some of the
  18 A That is correct.                                                    18 conversations that were going on with the senators
  19        MR. FISHER: Let's go to 13. So this is 3947.                   19 at the time, and this was just a follow-up
  20        (Deposition Exhbit 13 marked.)                                 20 clarification, is my understanding.
  21 Q Doctor, this looks lke -- looks to be another                       21 Q Oh, okay.
  22 information sheet from Seattle Children's, but it's                   22      MR. FISHER: Let's mark 15, which is gender
  23 for puberty blockers. And I'm wondering, do you                       23 timeline, 3990.
  24 know if this is given to every patient seeking                        24      (Deposition Exhbit 15 marked.)
  25 medical intervention for gender dysphoria?                            25 Q Do you recognize this document, Doctor?
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   1 A I have seen it.                                                      1 A I reviewed and helped edit.
   2 Q I'm sorry, have or have not?                                         2 Q So up in the top, it says, "Original creation date:
   3 A I have.                                                              3 3-14-23. Publication date: 4-17-23."
   4 Q You have, okay.                                                      4      Do you see that?
   5      What do you understand this document to be?                       5 A I do.
   6 A This is a document that helps families and patients                  6 Q Does that mean that before March 14th of this
   7 understand what they can expect from the                               7 year, there was no such policy?
   8 medications. So not every medication acts                              8 A So there was not a policy, but it was the accepted
   9 immediately, and sometimes the full effects are not                    9 standard of practice not to do gender-affirming
  10 seen for quite some period of time. And                               10 surgery on minors for the purpose of gender
  11 patients -- they don't always understand that. And                    11 dysphoria.
  12 so this document is to help them manage their                         12 Q Why was it necessary to create a policy in March of
  13 expectations of what's going to happen and when                       13 this year?
  14 that's going to happen and prepare for it.                            14 A I think that -- so as a former president of the
  15 Q And did you help prepare this document?                             15 medical staff, what I would say is that if there's
  16 A No, I did not.                                                      16 not gray areas, if there's not -- if it's going to
  17 Q It looks lke the next page, it may be in the same                   17 be a new law, we do policy to just remind
  18 document, but the 3991, or maybe it's actually a                      18 everybody, but it doesn't mean that the standard of
  19 separate -- there we go. I'm not sure if this is                      19 practice wasn't in place. It just -- it just means
  20 meant to be separate or meant to be part of the                       20 that if there's going to be a new law, which it
  21 same thing, but do you recognize this part of the                     21 appeared that there was going to be, we wanted to
  22 document?                                                             22 make sure that we were as clear as possble.
  23 A Yes.                                                                23 Q And that law, that new law that you're referring
  24 Q And so it's telling us more, I think, similar types                 24 to, was enacted as SEA 480?
  25 of information about estrogen and what it does.                       25 A Yes.
                                                                 Page 38                                                                   Page 40
   1 But do you understand it to be part of the previous                    1 Q I'm sorry, I want to make sure.
   2 page or do you think this is actually a separate                       2 A Yes.
   3 document?                                                              3 Q Yes, okay. But there's no similar policy statement
   4 A So I suspect it's a separate document, and they're                   4 about puberty blockers or hormone therapy for
   5 given together as a packet if they're appropriate.                     5 gender dysphoria in minors; correct?
   6 So you wouldn't give somebody that's going to start                    6 A There is not, but in this particular case, our
   7 testosterone therapy information about estrogen.                       7 standard of practice was always not performing
   8 So it would be handed separately to a patient for                      8 surgery on minors for this, and so it aligns our
   9 where it's appropriate.                                                9 standard of practice and the law. The standard of
  10 Q And if we flip to 3996, it should be probably in                    10 practice on hormone blockers, et cetera, was not
  11 that same exhibit. There we go. So I take it that                     11 based on age, either in our standard of practice,
  12 this is then the appropriate version of the                           12 the WPATH guidelines. So we have not put that into
  13 information that we're talking about, but for                         13 policy.
  14 somebody who's going to be taking testosterone                        14 Q So I want to direct your attention down to -- under
  15 rather than estrogen?                                                 15 policy statements, towards the bottom of that
  16 A Yes.                                                                16 page -- gosh, I hope you can see that.
  17      MR. FISHER: All right. Let's mark 16, which                      17      MR. FISHER: Can we make it just a little bit
  18 is 4121.                                                              18 bigger maybe? Scroll down just a bit. Maybe it's
  19      (Deposition Exhbit 16 marked.)                                   19 just my screen is messed up.
  20 Q Doctor, do you recognize this document?                             20 Q So you can see that whole thing, Doctor?
  21 A I do.                                                               21 A I can see A, B, and C.
  22 Q And what is this document?                                          22 Q Okay, terrific. So this is -- again, these are the
  23 A This is a policy statement prohbiting                               23 actual policy statements, kind of the operative
  24 gender-affirming surgery on minors.                                   24 piece of this document; is that right?
  25 Q Were you involved in the creation of this document?                 25 A Yes.
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   1 Q So under C, it says -- in bold, it says, "under no                1 IU Health would be practicing at another medical
   2 circumstances will IU Health or any provider                        2 provider such as Community, but not acting as an
   3 exercising clinical privileges at an IU Health                      3 employee of IU Health?
   4 facility perform any type of gender-affirming                       4 A So because it's a contractual agreement, and this
   5 surgery on a minor at an IU Health facility."                       5 is their primary employment, I'm no lawyer, but my
   6     So I want to go back and make sure I                            6 understanding is they are bound by their primary
   7 understand what provider refers to.                                 7 employer and their rules. And that is how we go
   8 A So a provider is a provider, a licensed provider,                 8 out into those spaces.
   9 of medical care. So that would include physicians,                  9 Q I see. So they're not allowed to sort of freelance
  10 so M.D s, DOs, and advanced practice providers are                 10 outside of their IU employment?
  11 included in that word "provider," which would be                   11 A No.
  12 nurse practitioners and physicians assistants.                     12 Q I'm sorry, I want to make sure --
  13 Q So this first sentence, you can't do -- you can't                13 A No, they are not.
  14 do gender-affirming surgery on a minor at an                       14 Q They're not, okay. Why is it important to have
  15 IU Health facility. Okay, fair enough. The next                    15 this policy extend to those circumstances where the
  16 sentence, "under no circumstances will a provider                  16 facility is not an IU facility?
  17 employed by IU Health perform any type of                          17 A Well, I think, number one, it's to support our
  18 gender-affirming surgery on a minor at a                           18 providers in maintaining the standard of practice
  19 non-IU Health facility, with which IU Health has a                 19 regardless of pressures that could come from
  20 contractual relationship, when performed on behalf                 20 families or other entities.
  21 of IU Health."                                                     21 Q Any other reason?
  22      And I'm trying to understand, number one --                   22 A Not that I'm aware of.
  23 well, let's just start, what is it getting at?                     23 Q But why does it matter to IU -- if it's at a
  24 Lke, what type of circumstance is envisioned by                    24 different facility, why does it matter if they're
  25 this particular prohbition?                                        25 adhering to this policy versus the other facility's
                                                              Page 42                                                                   Page 44
   1 A So I will try to explain this as clearly as I can.                1 policy?
   2 So the medical staff of the academic health center,                 2 A I think it goes back to this idea of, we have heard
   3 which is University, Methodist, and Riley,                          3 the national committees, we've read the national
   4 privileges and credentials are physicians to                        4 recommendations, we've made a decision that in the
   5 perform their medical duties at Riley, University,                  5 best care of patients, we are going to hold this to
   6 and Methodist.                                                      6 a line of 18 years of age, and that's pretty
   7     With our relationship with the School of                        7 agnostic from setting.
   8 Medicine, right, some of our faculty also practice                  8 Q I'm sorry, you trailed off. Pretty agnostic of
   9 at the VA or they practice at Eskenazi. We have a                   9 what?
  10 contractual relationship as a School of Medicine                   10 A Of the setting.
  11 entity to provide the physicians in that area. And                 11 Q Okay. Let's go back to the attachment. So this is
  12 then there are other circumstances of certain                      12 Exhbit 2, please.
  13 hospitals where we may have an agreement to provide                13       (Discussion held off the record.)
  14 some services. So an example of that is that the                   14       MR. FISHER: If we could go to paragraph 6.
  15 NICU at Community Hospital is staffed by Riley                     15 Maybe make that just a little bit bigger for the
  16 neonatalogists.                                                    16 doctor.
  17      So even though most of our practice is here,                  17 Q Doctor, do you see paragraph 6?
  18 they may practice at other places that have their                  18 A I do.
  19 own sets of bylaws and policies. And what this                     19 Q Which is asking for testimony about requirements
  20 says is, if you are employed by us, even if you're                 20 for counseling or other mental health treatments
  21 working at a hospital where maybe this isn't part                  21 before administration of puberty blockers,
  22 of their bylaws or their policies, you are bound to                22 cross-sex hormones, or surgical interventions.
  23 this policy as an IU Health physician, no matter                   23 A Yes.
  24 what setting you are in.                                           24 Q And we talked about the information that's
  25 Q Are there circumstances where physicians at                      25 disclosed a little bit, but I'm wondering about
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   1 if -- we can, obviously, set aside surgical                         1 that are prescrbed, or sort of alongside, or how
   2 interventions. But for puberty blockers and                         2 does that work?
   3 hormones, are there requirements for counseling or                  3 A I think it can be either or both, depending on what
   4 mental health treatments for gender dysphoria                       4 diagnosis there is and what treatment needs to be
   5 patients before administration of those medical                     5 undertaken. So, you know, it is not unusual for
   6 interventions?                                                      6 people who are undergoing gender dysphoria to have
   7 A Yes. So I believe it's in the Tory Castor e-mail                  7 depression, anxiety, and other things, whether that
   8 as well, but there are requirements for diagnosis                   8 precludes moving forward with their diagnosis or
   9 that lay out how long -- what the child's                           9 not, or treatment for their gender dysphoria, or
  10 intentions are, what signs of, you know, the gender                10 whether it goes hand in hand with that, it would be
  11 dysphoria are.                                                     11 up to the psychologist or the mental health worker.
  12       And the psychologists and the counselors help                12 Q Are you aware of any risks or symptoms that
  13 us make sure that the child meets the criteria set                 13 would -- either as a matter of the standard of care
  14 out by the DSM-5, which is the diagnostic and                      14 or as a matter of IU policy, you know, be a barrier
  15 statistical manual that is well used in all                        15 to proceeding with puberty blockers or hormones
  16 medicine for diagnostic criteria to have a patient                 16 until resolved?
  17 meet those requirements for that diagnosis.                        17 A I think, you know, one is if they don't meet the
  18       And that is where the mental health and                      18 diagnostic criteria. If you don't meet the
  19 psychology helps us begin that journey to say if                   19 diagnostic criteria, it may take more time to do
  20 they do meet criteria, if they don't meet criteria,                20 that. I think some of it is also, you know, people
  21 and if they understand, you know, this decision                    21 have free will, so if the patient doesn't want a
  22 they are making. So any time someone is embarking                  22 certain kind of therapy, it doesn't go forward.
  23 on a medical journey of any kind, or receives a                    23 You know, we have to do a lot of work with families
  24 diagnosis of any kind, that psychological support                  24 and children to make sure that everyone understands
  25 is always important to help them understand all the                25 the therapy and is supportive of the therapy. So
                                                              Page 46                                                                   Page 48
   1 medicine and what's happening and making sure that                  1 any of those things can happen to delay the
   2 they meet that criteria.                                            2 therapy.
   3 Q Is there an intention of, I guess, screening                      3 Q What about suicidality, if you have a child that
   4 patients who present with gender dysphoria but who                  4 meets the diagnostic criteria for gender dysphoria
   5 also present with psychological co-morbidities from                 5 but also has -- you know, presents with
   6 jumping into either blockers or hormones before                     6 suicidality, is that going to be something that is
   7 resolution of those co-morbidities?                                 7 a barrier to either blockers or hormones?
   8 A So I think that certainly, under the umbrella of                  8 A So I think suicidality is a tricky question because
   9 the psychological services, making sure that we                     9 very frequently the patients are suicidal because
  10 have the proper diagnosis is always important. And                 10 they're not progressing on their journey to
  11 if there are other diagnoses of any kind, that they                11 transgender. The suicide rate in gender dysphoria
  12 are identified and if intervention is needed for                   12 is very high, and so I think you have to work with
  13 those.                                                             13 the psychologist to understand the reason for the
  14       I would give you the example of if you have                  14 suicidality to know what the appropriate course
  15 bad oral hygiene and you're going to go for heart                  15 forward is, and that's in a case-by-case basis.
  16 surgery, right, you have the diagnosis of a heart                  16 Q With respect to the -- I guess the practice
  17 defect, we're going to clean your teeth before we                  17 standards, the guidelines that Riley psychiatric
  18 send you to heart surgery. It's just kind of the                   18 services consult and use when dealing with
  19 way it works, because that's an added risk factor,                 19 psychological co-morbidities, you mentioned the
  20 et cetera. So we do that with any diagnosis.                       20 DSM-5. Anything else that, I guess, provides sort
  21       So if there are other things identified in the               21 of the framework for those assessments?
  22 mental health counseling, they will be dealt with                  22 A Certainly there are multiple places that have
  23 as well.                                                           23 guidelines. I mentioned the Endocrine Society
  24 Q Well, and I'm wondering what you mean, dealt with                24 earlier. The Society for Adolescent Medicine, the
  25 before there's any puberty blockers or hormones                    25 AMA, the AAP. People reiterate what best practice
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   1 are, and so when our team determines their                          1 format you asked for it and see if it exists. We
   2 standards of practice, they use those guidelines                    2 provided some data we were able to collect in our
   3 and make sure that they have everything covered.                    3 document production. But yeah, I have not
   4 Sometimes the guidelines are slightly different in                  4 discussed this specific issue with Dr. Cox.
   5 their recommendations based on, you know, wording,                  5      MR. FISHER: All right. Well, we'll discuss
   6 et cetera. But the overall principles are all the                   6 more offline then.
   7 same because they're based on the same set of                       7      Okay. I think I may be just about done. Just
   8 science.                                                            8 hang on. If we could just take a couple minutes
   9 Q Are you aware of any such, I guess, standards                     9 here, so I can confer with my colleagues.
  10 within Riley that depart from the Endocrine                        10      (Recess taken.)
  11 Society, the AMA, or any of the other organizations                11 BY MR. FISHER:
  12 when it comes to assessment or treatment?                          12 Q I just have a couple of things that I wanted to
  13 A No, I am not.                                                    13 follow up on. If we could go back to Exhbit 8.
  14 Q So let's scroll down to paragraph 10, please. And                14 And this is Bates No. 3905.
  15 I'm going to apologize. Yeah, this is spanning a                   15      Doctor, do you see -- oh, let's go back down
  16 couple of pages, but this is a request for                         16 to the bottom there. Doctor, on that left-hand
  17 testimony about data on minor patients -- I think                  17 column, it says, "Surgery consultation and
  18 we're talking about aggregate data here -- minor                   18 coordination."
  19 patients seeking or receiving treatment for gender                 19      Do you see that?
  20 dysphoria or gender incongruence, and then there's                 20 A I do.
  21 a whole list of categories here.                                   21 Q So I take this to mean that even though Riley will
  22     And I'm wondering if Riley or IU keeps data,                   22 not provide top and bottom surgery -- I don't know,
  23 this data, and has this data available.                            23 maybe I'm not understanding this -- will Riley
  24 A So we do keep data. I can't comment on A through                 24 consult and coordinate for such surgery elsewhere?
  25 whatever it is, if we keep all of that data or not.                25 A No. So what that statement refers to is that many
                                                              Page 50                                                                   Page 52
   1 You know, with many things in medicine, because                     1 times families and patients, they want surgery.
   2 medicine is a constantly evolving science, we keep                  2 Not all of them, but many of them do. Or they want
   3 all kinds of data in registries for specific                        3 to consider surgery. So what that result -- what
   4 diagnoses, but I have no idea which ones of these                   4 that line is stating is that if families want to
   5 we're actively collecting at this time.                             5 get more detailed information about what surgery
   6     MR. MINKLER: And Tom -- this is Josh Minkler,                   6 would entail and when it can happen and what
   7 for the court reporter -- that's more on me than on                 7 recovery is like, they want to go to the expert
   8 Dr. Cox. In providing the data analysis under the                   8 frequently, which is the surgeon.
   9 document requests, we had to take some steps to put                 9      So we will arrange for them to have
  10 information together for you and redact certain                    10 conversation with the surgeon for the sole purpose
  11 information. So I did not prepare her on the data                  11 of getting detailed information and questions
  12 information.                                                       12 answered. But still, surgery won't happen until
  13      MR. FISHER: And I think, Josh, I guess I'm,                   13 after they're 18.
  14 you know, wondering if we can get, you know, some                  14 Q If a patient, a minor patient, wants to have either
  15 clarity outside of the deposition here on what's                   15 top or bottom surgery as a treatment, solely for
  16 available within these categories and whether if                   16 gender dysphoria, and wants to go out of state for
  17 there's some way to produce that data. You know,                   17 that, will Riley coordinate with a provider out of
  18 we're not -- again, if it's the sort of thing that                 18 state who's going to provide that when that --
  19 they're not keeping and that you'd have to go                      19 again, when that patient's under the age of 18?
  20 through patient files and such, we're not asking                   20 A What I would say is that if a patient transfers
  21 for that. We just wonder if this data exists, if                   21 their care to someone else and they request their
  22 we can get it.                                                     22 medical records, by law we will give them medical
  23      Sorry, Josh, you're on mute.                                  23 records. And that's the extent of what we have
  24      MR. MINKLER: Understood. Yeah, we can                         24 done.
  25 discuss that. We're trying to seek that in the                     25      If a patient is moving out of state and needs
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   1 to be referred to another medical provider or                       1 statute?
   2 something of that nature, we will help them land                    2 A Well, in general -- obviously not everyone reacts
   3 safely and have a safe transition, but we would not                 3 the same, but in general, they've been quite upset
   4 facilitate the purposes of getting the surgery less                 4 because they have been through a lot to get to this
   5 than 18. And I think it's because we believe that                   5 point on their journey, and now their journey is
   6 that is the practice that we should be providing.                   6 being disrupted and they're -- in general, they're
   7 And so that's where we would stand on those                         7 agitated, I would say, about it.
   8 questions.                                                          8 Q Now, in Exhbit 14, and we don't need to see it
   9 Q So what preparations is Riley making for the                      9 again, I can just say that's the e-mail from Tory
  10 implementation of SEA 480?                                         10 Castor. And she indicates that Riley has seen 903
  11 A So we have done a couple of different things. We                 11 unique patients from 2018 to 2022. I apologize,
  12 have informed the families what the requirements of                12 the Riley gender clinic has seen 903 unique
  13 the bill will be and what that means for our                       13 patients from 2018 through 2022.
  14 clinic. And I know that our team has been meeting                  14      Do you remember her saying that?
  15 with a lot of families that have a lot of concerns                 15 A I do.
  16 about what happens to their child. And that                        16 Q And I assume that a significant percentage of those
  17 includes, as you know, weaning off of the therapies                17 patients have received or are receiving either
  18 that are medical if the -- as the bill becomes law                 18 puberty blockers or gender-affirming hormones; is
  19 and gets enacted -- I guess it is a law, but when                  19 that correct?
  20 it goes live, whatever you guys call that.                         20 A A good percentage, yes.
  21      They are aware, the families are being                        21 Q I am wondering if -- strke that. Excuse me.
  22 informed. They are being informed also that our                    22      The statute that we are here on today covers,
  23 gender affirmation clinic will remain and will                     23 for some things, for all things, physicians and
  24 support them with the ongoing psychological                        24 practitioners. And I will tell you practitioners
  25 services and all the things that will still be                     25 are defined as individuals who provide health
                                                              Page 54                                                                   Page 56
   1 allowed by law. So that's what we're doing to                       1 services and hold a license. And I'm wondering if
   2 prepare.                                                            2 you can give me an estimate of the number of
   3 Q And anything else that you can think of in that                   3 physicians and practitioners -- I don't need names,
   4 regard?                                                             4 but by job category -- roughly, working at Riley
   5 A No. We are supporting our physicians and what the                 5 gender care program right now; how many physicians
   6 impact that this will have on their practice. But                   6 are working in the program?
   7 other than that, I am not aware of anything else                    7 A So I can't really answer that because the
   8 specifically we are doing.                                          8 adolescent medicine division has a number of
   9     MR. FISHER: Well, I think that those are the                    9 doctors in it. I don't know that they all provide
  10 questions I have for you, Doctor. Thanks very                      10 care in the gender-affirming clinic. Some of them
  11 much. I will pass the witness to either                            11 have different subspecialties within adolescent
  12 Mr. Minkler or Mr. Fak.                                            12 medicine. And that's true of endocrine. But, you
  13     MR. MINKLER: Yeah, I don't have any                            13 know, it's between the doctors and the nurse
  14 follow-up. So Mr. Fak.                                             14 practitioners and the psychologists, you're well
  15     MR. FALK: Yeah, thank you. I just have a                       15 over 20, 25 people easily.
  16 few.                                                               16 Q Thank you.
  17 EXAMINATION                                                        17     One of the topics in Exhbit 2, which was that
  18 BY MR. FALK:                                                       18 attachment of things to discuss during your
  19 Q Doctor, my name is Ken Fak. I, along with my                     19 deposition, concerned information provided to minor
  20 colleagues, are representing the plaintiffs in this                20 patients or to their parents or guardians
  21 case. As I said, I just had a few questions.                       21 concerning any coverage by Medicaid or medical
  22     Just to piggyback on your last comment about                   22 insurance. And I just wanted to ask you a
  23 your staff meeting with a lot of concerned                         23 question, and you may not know. Are patients who
  24 families, how have the families reacted to this --                 24 are receiving services from the Riley gender health
  25 the July 1st impending effective date of the                       25 program, are some of them receiving services
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   1 reimbursed by Medicaid?                                              1     MR. FISHER: So I think probably, gosh, what
   2 A Yes.                                                               2 is today? Can we get it by close of business
   3 Q And does that include the administration of puberty                3 tomorrow?
   4 blockers and/or gender-affirming hormones?                           4     THE REPORTER: Yes, I can do that.
   5 A It can, yes.                                                       5     MR. FALK: We just need it expedited, but not
   6 Q And, of course, the visits themselves where those                  6 that expedited.
   7 are administered; is that correct?                                   7     THE REPORTER: So when do you want yours?
   8 A Yes.                                                               8     MR. FALK: By Monday would be great.
   9 Q And just one more thing. One of the documents that                 9     (The deposition concluded at 10:28 a m.)
  10 was provided to the court reporter that was not                     10
  11 made an exhibit --                                                  11
  12       MR. FALK: Joannie, if you could bring up the                  12
  13 Word version of the GAC Fact Sheet.                                 13
  14 Q And I will tell you, while that's being brought up,               14
  15 I believe this is the exact same text as Bates 3901                 15
  16 through 3904, which is Exhibit 7, but I asked for                   16
  17 this because the hyperlinks in this are active.                     17
  18       So if you don't mind just looking at that real                18
  19 quickly, or as long as you want -- although I                       19
  20 suspect at this point you'd lke this to be over --                  20
  21 and just confirm for me that this appears to be the                 21
  22 same as Exhibit 7 which were, as I said, Bates 3901                 22
  23 through 3904.                                                       23
  24       MR. FALK: And Joannie, we would make this                     24
  25 Exhbit 17, is that where we are?                                    25
                                                               Page 58                                                                    Page 60
   1 A It does look the same.                                            1            UNITED STATES DISTRICT COURT
                                                                                      SOUTHERN DISTRICT OF INDIANA
   2 Q Thank you.                                                        2              INDIANAPOLIS DIVISION
   3       MR. FALK: And am I right with my notes, is                    3
                                                                         4
   4 this Exhbit 17?                                                         K.C., ET AL.,              )
   5       THE REPORTER: Yes.                                            5                          )
                                                                                      Plaintiffs,    )
   6       (Deposition Exhbit 17 marked.)                                 6                         )
   7       MR. FALK: Let me just consult real quickly                              -v-              ) CASE NO.
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   8 with my co-counsel.                                                    THE INDIVIDUAL MEMBERS OF )
   9       Thank you for your time, Doctor, and thank you                 8 THE MEDICAL LICENSING BOARD )
                                                                            OF INDIANA, in their official)
  10 for what you do. No further questions.                               9 capacities, et al.          )
  11        THE WITNESS: Thank you.                                                                )
                                                                         10            Defendants.        )
  12        MR. FISHER: I have no follow-ups. Thank you,                 11
                                                                         12                 Job No. 181981
  13 Doctor. Really appreciate it.
                                                                         13
  14        THE WITNESS: Thank you.                                      14        I, ELAINE COX, M.D., state that I have read
                                                                            the foregoing transcript of the testimony given by me
  15        THE REPORTER: Do we want signature?                          15 at my deposition on May 31, 2023, and that said
  16        MR. MINKLER: Can I review this document with                    transcript constitutes a true and correct record of
                                                                         16 the testimony given by me at said deposition except as
  17 Dr. Cox before that? The transcript. I just need                       I have so indicated on the errata sheets provided
  18 a copy.                                                             17 herein.
                                                                         18
  19        THE REPORTER: Do you want a copy also or do                  19
  20 you just want the original for signature?                           20                        _________________________
                                                                                                  ELAINE COX, M.D.
  21        MR. MINKLER: I just want a copy. I just want                 21
  22 to review it before signature.                                      22
                                                                         23            STEWART RICHARDSON & ASSOCIATES
  23        THE REPORTER: I have a rough draft for AG's                              Registered Professional Reporters
  24 office. I don't have a date on final. So when do                    24            One Indiana Square, Suite 2425
                                                                                         Indianapolis, IN 46204
  25 you need final?                                                     25                    (800)869-0873
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  1 STATE OF INDIANA
  2 COUNTY OF HENDRICKS
  3
  4          I, Debbi S. Austin, a Notary Public in and for
  5 said county and state, do hereby certify that the
  6 deponent herein was by me first duly sworn to tell the
  7 tru h, the whole truth, and nothing but the truth in
  8 the aforementioned matter;
  9          That the foregoing deposition was taken on
  10 behalf of the Defendants; that said deposition was
  11 taken at the time and place heretofore mentioned
  12 between 9:01 a.m. and 10:28 a.m.;
  13         That said deposition was taken down in
  14 stenograph notes and afterwards reduced to typewriting
  15 under my direction; and that the typewritten
  16 transcript is a true record of the testimony given by
  17 said deponent;
  18         And thereafter presented to said witness for
  19 signature; that this certificate does not purport to
  20 acknowledge or verify the signature hereto of the
  21 deponent.
  22         I do further certify that I am a disinterested
  23 person in his cause of action; that I am not a
  24 relative of the attorneys for any of the parties.
  25

                                                                      Page 62
  1          IN WITNESS WHEREOF, I have hereunto set my
  2 hand and affixed my notarial seal this 1st day of
  3 June, 2023.
  4
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  12
  13
  14 My Commission Expires:
       July 13, 2023
  15
  16 Job No. 181981
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